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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF ARIZONA
CR-23-8043-PCT-DLR (MTM)

  
  

   
     
  

United States of America, No.
Plaintiff, MOTION TO SEAL INDICTMENT
VS.
(Filed Under Seal)
Preston Henry Tolth,
Defendant.

 

 

The United States of America, by and through counsel undersigned and pursuant to
Fed.R.Crim.P. 6(e)(4), moves this Court for an Order sealing the Indictment and this
motion and order filed in this matter until the arrest of the defendant.

It is not expected that excludable delay under 18 U.S.C. § 3161 will occur as a result
of this motion or an order based thereon.

Respectfully submitted this 14" day of March, 2023.

GARY M. RESTAINO
United States Attorney
District of Arizona

s/ Dimitra H. Sampson
DIMITRA H. SAMPSON
Assistant United States Attorney

 

 

 

 
